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                                         ORDERED.


     Dated: October 11, 2018




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


In Re:                                                          Case No: 8:18-bk-03199-MGW
                                                                Chapter 7
Ernest J. Thomas
Margo A. Thomas

DEBTORS                         /

                         ORDER GRANTING TRUSTEE’S MOTION
                TO SELL REAL PROPERTY AND PAY SECURED CREDITORS
                   (2543 Riverbluff Parkway, Unit V-178, Sarasota, FL 34231)

         THIS CASE came before the court to consider Chapter 7 Trustee, Beth Ann Scharrer’s
(“Trustee”) Motion to Sell Real Property and Pay Secured Creditors (the “Motion”) (Dkt. No. 29).
The Motion was served upon all interested parties with the Local Rule 2002-4 negative notice
legend informing the parties of their opportunity to respond within 21 days of the date of service;
no party filed a response within the time permitted; and the Court therefore considers the Motion
unopposed. Accordingly, it is:
         ORDERED and ADJUDGED as follows:
         1.      The notice of the Motion is approved as proper and adequate under the
circumstances.
         2.      The Motion is GRANTED.
         3.      The Trustee is authorized to sell the real property located at:
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       UNIT V-178, STRATHMORE RIVERSIDE VILLAS, SECTION TWO, A
       CONDOMINIUM, ACCORDING TO THE DECLARATION OF
       CONDOMINIUM RECORDED IN OFFICIAL RECORDS BOOK 897, PAGE 671,
       AND AMENDMENTS THERETO, AND AS PER PLAT THEREOF, RECORDED
       IN CONDOMINIUM BOOK 4, PAGE 47, AND AMENDMENTS THERETO, OF
       THE PUBLIC RECORDS OF SARASOTA COUNTY, FLORIDA, TOGETHER
       WITH AN UNDIVIDED INTEREST IN THE COMMON ELEMENTS
       APPURTENANT THERETO.


more commonly known as, 2543 Riverbluff Parkway, Unit V-178, Sarasota, FL 34231 (the

“Real Property”), for an amount acceptable to the Trustee within her best business judgment and

with no less than $6,750.00 net benefit to the estate at closing, conditioned on the consent of its

lienholder(s), and in accordance with the other terms provided for in the Motion.

       4.      The Trustee is authorized to pay the secured mortgage creditor, Bank of America,

(also known as “Secured Creditor”) the full amount of their lien as of the date of closing or other

amount agreeable to the Secured Creditor to release their lien.

       5.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtor in the Real Property to Robert

Mckone, his assigns, or other ultimate purchaser (the “Buyer”).

       6.      The Trustee is authorized to execute any such releases, termination statements,

assignments, consents or instruments on behalf of any third party, including the holders of any

liens, claims or interests identified in paragraph 4 of this Order, that are necessary or appropriate

to effectuate or consummate the sale. Moreover, the Trustee is hereby authorized to execute the

purchase agreement, or other related documents that are reasonably necessary or appropriate to

complete the sale, and to undertake such other actions as may be reasonably necessary or

appropriate to complete the sale.
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       7.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

respect to the real property included among the purchased assets; and (b) other anticipated

closing costs (estimated below):

       Total Sales/Brokers Commission:
       6% of base sale price to 1st Premier International Properties           $ 8,100.00*
       this commission is intended to be shared with a cooperating agent       / broker
       Title Charges:                                                          $ 2,350.00*
       Government recording / transfer charges:                                $ 945.00*
       Satisfaction of Liens:
               Bank of America                                                 $ 113,353.42*
       Misc. (Lien Search Fee, HOA Dues and Estoppel fees, etc.)               $ 2,033.00*

*These amounts are expected to fluctuate with any sale price changes.

Without further order of the court, and using her best business judgment, the Trustee is authorized

to pay closing costs in amounts different than the estimated amounts described above so long as

they are within industry standard and do not materially reduce the benefit to the estate.

       8.      Except as otherwise provided in the Motion, the Real Property shall be sold,

transferred, and delivered to Buyer(s) on an “as is, where is” or “with all faults” basis.

       9.      This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects, including

retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

disputes arising under or related to the purchase agreement, and (c) resolve any disputes

regarding liens, claims, or interests asserted against the Real Property.
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       10.     The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by both parties

without further order of the Court, provided that any such modification, amendment or

supplement does not have a material adverse effect on the Debtor’s bankruptcy estate.

Attorney, Richard M. Dauval, Esq., is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
